




Dismissed and Memorandum Opinion filed August 21, 2008








Dismissed
and Memorandum Opinion filed August 21, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00705-CR

____________

&nbsp;

TIMOTHY LEWIS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1118770

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a Aguilty@ plea to aggravated robbery.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on August
13, 2007, to confinement for twenty-five years in the Institutional Division of
the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
21, 2008.

Panel consists of Justices Anderson, Fowler, and
Frost.

Do Not Publish C Tex. R. App. P.
47.2(b)





